                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


BRITTNEY ELLIS
11335 West Carmen Avenue
Milwaukee, Wisconsin 53225

               Plaintiff,                                    Case No.: 20-cv-37

       v.                                                    JURY TRIAL DEMANDED

PRON-TOW TOWING
20711 Watertown Road, Suite E
Waukesha, Wisconsin 53186

       and

JEFFREY ZINGG
20711 Watertown Road, Suite E
Waukesha, Wisconsin 53186

               Defendants


                                          COMPLAINT


       COMES NOW Plaintiff, Brittney Ellis, by her counsel, WALCHESKE & LUZI, LLC, as

and for a claim against Defendants, alleges and shows to the Court as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because

this case involves a federal question under the Fair Labor Standards Act of 1938, as amended, 29

U.S.C. § 201 et seq. (“FLSA”).

       2.      This Court has supplemental jurisdiction over this matter pursuant to 28 U.S.C.

§ 1367 because this case involves claims under Wisconsin’s Wage Payment and Collection Laws




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(“WWPCL”), and these claims are so related in this action within such original jurisdiction that

they form part of the same case or controversy under Article III of the United States Constitution.

       3.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

Defendants reside and/or operate their business in the Eastern District of Wisconsin and the

unlawful employment practices of which Plaintiff complains occurred within the Eastern District of

Wisconsin.

                                  PARTIES AND COVERAGE

       4.      Plaintiff, Brittney Ellis, is an adult female resident of the State of Wisconsin with a

post office address of 11335 West Carmen Avenue, Milwaukee, Wisconsin 53225.

       5.      Defendant, Pron-Tow Towing, was, at all material times herein, a commercial entity

doing business in the State of Wisconsin with a principal address of 20711 Watertown Road, Suite

E, Waukesha, Wisconsin 53186.

       6.      Defendant Pron-Tow Towing is a tow truck company.

       7.      Defendant, Jeffrey Zingg, was, at all material times herein, an individual resident of

the State of Wisconsin with a principal business address of 20711 Watertown Road, Suite E,

Waukesha, Wisconsin 53186.

       8.      Defendant Zingg owns, operates, and manages Defendant Pron-Tow Towing.

       9.      During the relevant time periods as stated herein, Defendant Pron-Tow Towing was

engaged in “commerce” and/or its employees were engaged in “commerce,” as that term is defined

under the FLSA.

       10.     During the relevant time periods as stated herein, Defendant Pron-Tow Towing

employed more than two (2) employees.




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        11.     During the relevant time periods as stated herein, Defendant Pron-Tow Towing’s

annual dollar volume of sales or business exceeded $500,000.

        12.     During the relevant time periods as stated herein, Defendants were an “employer”

as that term is defined under the FLSA and the WWPCL.

        13.     During the relevant time periods as stated herein, Plaintiff was “employed” by

and/or an “employee” of Defendants, as these terms are defined under the FLSA and the

WWPCL.

        14.     During the relevant time periods as stated herein, Defendant Zingg was an

“employer” as that term is defined under the FLSA and/or the WWPCL.

        15.     During Plaintiff’s employment with Defendants, Defendant Zingg supervised

Plaintiff’s day-to-day activities.

        16.     During Plaintiff’s employment with Defendants, Defendant Zingg had the ability

and authority to (and actually did), hire, terminate, promote, demote, and/or suspend Plaintiff.

        17.     During Plaintiff’s employment with Defendants, Defendant Zingg had the ability

and authority to (and actually did), review Plaintiff’s work performance.

        18.     During Plaintiff’s employment with Defendants, Defendant Zingg established the

work rules, policies, and procedures by which Plaintiff abided while performing compensable

work for Defendants, on behalf of Defendants, and/or at Defendants’ direction.

        19.     During Plaintiff’s employment with Defendants, Defendant Zingg controlled the

terms and conditions of Plaintiff’s employment.

        20.     During Plaintiff’s employment with Defendants, Defendant Zingg established

Plaintiff’s work schedule and provided Plaintiff with work assignments and hours of work.




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        21.      During Plaintiff’s employment with Defendants, Defendant Zingg tracked and/or

recorded Plaintiff’s hours of work.

        22.      During Plaintiff’s employment with Defendants, Defendant Zingg established

Plaintiff’s compensation methods, rates, and structure.

        23.      During Plaintiff’s employment with Defendants, Plaintiff was engaged in

commerce or in the production of goods for commerce.

                                    GENERAL ALLEGATIONS

        24.      In approximately January 2018, Defendant Zingg hired Plaintiff into the position

of Office Manager at Defendants.

        25.      During Plaintiff’s employment with Defendants and in addition to performing the

job duties and responsibilities of her Office Manager position, Plaintiff also performed the job

duties of a Tow Truck Driver and a Trainer.

        26.      During the entirety of Plaintiff’s employment with Defendants, Plaintiff reported

directly to Defendant Zingg, the owner, operator, and manager of Defendant Pron-Tow Towing.

        27.      During the entirety of Plaintiff’s employment with Defendants, Defendants

compensated Plaintiff on an hourly basis and/or with an hourly rate of pay for any and all

compensable work performed on their behalf, with their knowledge, at their direction, and/or for

their benefit.

        28.      During Plaintiff’s employment with Defendants, Defendants compensated

Plaintiff on a bi-monthly basis via check for any and all compensable work performed.

        29.      During Plaintiff’s employment with Defendants, Plaintiff often worked in excess

of forty (40) hours per workweek.

        30.      On or about May 17, 2019 was Plaintiff’s last day of actual work for Defendants.




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       31.     During the entirety of Plaintiff’s employment with Defendants, Plaintiff was a

non-exempt employee under the FLSA and WWPCL.

       32.     Upon information and belief and during Plaintiff’s employment with Defendants,

Defendants did not have an established workweek for FLSA and/or WWPCL purposes.

       33.     During the entirety of Plaintiff’s employment with Defendants and despite

Plaintiff frequently working in excess of forty (40) hours per workweek, Defendants did not

compensate Plaintiff with overtime pay of time-and-one-half of Plaintiff’s regular rate of pay for

any and all hours worked in excess of forty (40) hours in a workweek.

       34.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 1, 2019 to May 15, 2019, Defendants did not compensate Plaintiff

for any hours worked or work performed.

       35.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 1, 2019 to May 15, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff for any hours worked or work performed.

       36.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 1, 2019 to May 15, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff with an effective hourly rate of at least $7.25 per

hour for any and all hours worked or work performed.

       37.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 1, 2019 to May 15, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff with her agreed-upon and regularly hourly rate

of pay of $18.00 for any and all hours worked or work performed.




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       38.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 1, 2019 to May 15, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff with earned compensation totaling

approximately $840.39.

       39.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 16, 2019 to May 31, 2019, Defendants did not compensate

Plaintiff for any hours worked or work performed.

       40.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 16, 2019 to May 31, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff for any hours worked or work performed.

       41.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 16, 2019 to May 31, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff with an effective hourly rate of at least $7.25 per

hour for any and all hours worked or work performed.

       42.     During Plaintiff’s employment with Defendants and during the workweeks that

comprised approximately May 16, 2019 to May 31, 2019, Defendants suffered or permitted

Plaintiff to work without compensating Plaintiff with her agreed-upon and regularly hourly rate

of pay of $18.00 for any and all hours worked or work performed.

       43.     During Plaintiff’s employment with Defendants, Defendants suffered or permitted

Plaintiff to work without appropriately and lawfully compensating her for all hours worked each

workweek, including but not limited to at an overtime rate of pay for each hour worked in excess

of forty (40) hours in a workweek and for any and all hours worked from approximately May 1,

2019 to May 31, 2019.




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       44.     Defendants knew or should have known that Plaintiff must be compensated for all

hours worked (and for all hours Defendants suffered or permitted her to work) in a workweek in

accordance with the FLSA and WWPCL.

       45.     Defendants had a statutory duty to comply with the FLSA and WWPCL and to

remedy FLSA and WWPCL violations of which they were aware and/or of which they should

have been aware.

       46.     Defendants owe Plaintiff earned and unpaid wages for work performed during

Plaintiff’s employment with Defendants for which Plaintiff was not properly and lawfully

compensated, in a total amount that remains to be determined, including at an overtime rate of pay,

plus an equal amount for liquidated damages.

                    FIRST CAUSES OF ACTION – FLSA VIOLATIONS
                         (MINIMUM WAGE AND OVERTIME)

       47.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       48.     Section 206(a)(1) of the FLSA regulates, among other things, the payment of a

minimum wage by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

       49.     Section 207(a)(1) of the FLSA regulates, among other things, the payment of an

overtime premium by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

       50.     At all times material herein, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201 et seq.




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       51.     Defendants intentionally violated the FLSA by failing to compensate Plaintiff

with an effective hourly rate of at least $7.25 per hour for all hours worked during the

workweeks from approximately May 1, 2019 to May 31, 2019 during her employment with

Defendants.

       52.     Plaintiff was legally entitled to overtime pay for all hours worked beyond forty

(40) in a workweek during her employment with Defendants, but Defendants intentionally

violated the FLSA by failing to compensate Plaintiff with overtime premium pay for each hour

worked in excess of forty (40) hours in a workweek.

       53.     Defendants’ failure to properly and legally compensate Plaintiff for all

compensable work performed at a minimum rate of pay and/or at an overtime rate of pay during

workweeks when she worked more than forty (40) hours during her employment with

Defendants was willfully perpetrated. Defendants have neither acted in good faith nor with

reasonable grounds to believe that their actions and omissions were not a violation of the FLSA,

and as a result thereof, Plaintiff is entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid minimum and overtime wages as described above

pursuant to Section 216(b) of the FLSA. Alternatively, should the Court find that Defendants

acted reasonably and with good faith in failing to pay minimum and overtime wages, Plaintiff is

entitled to an award of pre-judgment interest at the applicable legal rate.

       54.     As a result of the aforesaid willful violations of the FLSA’s provisions, minimum

wages and overtime compensation has been unlawfully withheld from Plaintiff by Defendants.

       55.     Plaintiff is entitled to damages equal to the minimum wages and overtime

compensation due and owing to her within the three (3) years preceding the date of filing of this

Complaint, ECF No. 1, plus periods of equitable tolling because Defendants acted willfully and




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knew or showed reckless disregard of whether their conduct was prohibited by the FLSA and

otherwise engaged in wrongful conduct that prevented Plaintiff from asserting her claims against

Defendants.

       56.     Pursuant to the FLSA, 29 U.S.C. § 216(b), successful Plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages.

                   SECOND CAUSES OF ACTION – WWPCL VIOLATIONS
                       (MINIMUM WAGES AND OVERTIME PAY)

       57.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       58.     At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       59.     At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       60.     At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       61.     At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of her principal activities without receiving compensation for

these activities, including but not limited to at an overtime rate of pay for each hour worked in

excess of forty (40) hours in a workweek and compensation for any and all hours worked from

approximately May 1, 2019 to May 31, 2019.




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       62.     Defendants willfully and intentionally violated the WWPCL by failing to

compensate Plaintiff with an hourly rate of at least $7.25 per hour for all hours worked during

the workweeks from approximately May 1, 2019 to May 31, 2019 during her employment with

Defendants.

       63.     Defendants willfully and intentionally violated the FLSA by failing to compensate

Plaintiff with overtime premium pay for each hour worked in excess of forty (40) hours in a

workweek during her employment with Defendants.

       64.     As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of her unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       65.     Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.

                   THIRD CAUSE OF ACTION – WWPCL VIOLATIONS
                     (FAILURE TO PAY AN AGREED-UPON WAGE)

       66.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       67.     At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       68.     At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).




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       69.     At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       70.     At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of her principal activities without receiving compensation for

these activities at her previously agreed-upon hourly rate of pay with Defendants.

       71.     During Plaintiff’s employment with Defendants, Defendants willfully and

intentionally failed to compensate Plaintiff for all hours worked and work performed, including

but not limited to with agreed-upon wages as defined in Wis. Stat. § 109.01(3), by failing to

compensate her with her agreed-upon regular or hourly rate of pay of $18.00 for any and all

hours worked during the workweeks from approximately May 1, 2019 to May 31, 2019 during

her employment with Defendants, in violation of the WWPCL.

       72.     As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of her unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       73.     Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.




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      WHEREFORE, Plaintiff respectfully requests that this Court:

      1. Order Defendants to make Plaintiff whole by providing reimbursement for unpaid

          wages – including but not limited to minimum wages, overtime wages, and agreed-

          upon wages – for pre-judgment and post-judgment interest, and for all times spent

          performing compensable work for which Plaintiff was not properly paid by

          Defendants under the FLSA and WWPCL;

      2. Grant to Plaintiff liquidated damages against Defendants;

      3. Grant to Plaintiff attorneys’ fees, costs, and disbursements as provided by statute; and

      4. Grant to Plaintiff whatever other relief this Court deems necessary and proper.

      PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

      Dated this 9th day of January, 2020

                                            WALCHESKE & LUZI, LLC
                                            Counsel for Plaintiff

                                            s/ Scott S. Luzi              ___________
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